                         IN THE UNITED STATES DISTRICT COURT
                                FOR THE DISTRICT OF ALASKA


SECURITY ALARM FINANCING
ENTERPRISES, L.P., a California Limited
Partnership,

                        Plaintiff,
                  v.

ALDER HOLDINGS, LLC, a Utah Limited
Liability Company; ALARM
PROTECTION TECHNOLOGY, LLC, a
Utah Limited Liability Company; ALARM
PROTECTION TECHNOLOGY ALASKA,
LLC, a Utah Limited Liability Company;
and ALARM PROTECTION ALASKA,                              Case No.: 3:13-cv-00102-SLG
LLC, a Utah Limited Liability Company,

                        Defendants.




    ORDER RE DEFENDANTS’ RENEWED MOTION FOR JUDGMENT AS A MATTER
    OF LAW OR IN THE ALTERNATIVE FOR NEW TRIAL OR TO AMEND JUDGMENT

           At Docket 706, Defendants and Counterclaimants filed a Renewed Motion for

    Judgment as a Matter of Law (JMOL) or in the Alternative for New Trial or to Amend

    Judgment. SAFE opposed at Docket 747, and Defendants replied at Docket 754.

    Defendants requested oral argument on the motion at Docket 755, but that was not

    necessary to the Court’s determination.

           In ruling on a motion for JMOL, “[a] jury’s verdict must be upheld if it is supported

    by . . . evidence adequate to support the jury’s conclusions, even if it is also possible to

    draw a contrary conclusion.”1 “[I]n entertaining a motion for judgment as a matter of



1
    McCollough v. Johnson, Rodenburg & Lauinger, LLC, 637 F.3d 939, 955 (9th Cir. 2011)


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    law, the court . . . may not make credibility determinations or weigh the evidence.”2

    “And although taking a motion under submission and ruling on it after the jury returns a

    verdict is proper practice, . . . the court ‘may not substitute its view of the evidence for

    that of the jury.’” 3

          Defendants assert that JMOL is warranted because SAFE “invited error in closing

    argument by providing a damages calculation of over 400 customers,” when, in

    Defendants’ view, SAFE proved an entitlement to damages from no more than six

    customers. 4 Defendants provide calculations that set forth their belief as to the basis

    for the jury’s damages awards for each of the four claims that the jury determined.

          The Court rejects this argument as a basis to set aside the jury’s verdict. The

    Court acknowledges that it appears that the jury’s verdict depended on an inference by

    them that Defendants’ misconduct involving six customers extended to the great

    majority of SAFE’s Alaska customers with which Defendants had contact.                  “That

    inference is not exorable, neither is it fanciful. Much legal reasoning depends on that

    very kind of extrapolation from limited data.” 5 The Court finds that there was adequate



(quoting Harper v. City of Los Angeles, 533 F.3d 1010, 1021 (9th Cir. 2008)).
2 E.E.O.C. v. Go Daddy Software, Inc., 581 F.3d 951, 961 (9th Cir. 2009) (alteration in original)
(quoting Reeves v. Sanderson Plumbing Prods., Inc., 530 U.S. 133, 150 (2000)).
3
 Krechman v. Cty. of Riverside, 723 F.3d 1104, 1110 (9th Cir. 2013) (quoting Winarto v.
Toshiba Am. Elecs. Components, Inc., 274 F.3d 1276, 1283 (9th Cir. 2001)).
4
    Docket 707 at 2.
5
 Intel Corp. v. Terabyte Intern., Inc., 6 F.3d 614, 621 (9th Cir. 1993) (upholding trial court’s
damages calculation under Lanham Act, while recognizing that “[u]ndeniably the method the
district court used to measure damages was somewhat crude” and depended on inferences).

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    evidence to support the jury’s damages awards, such that the motion for JMOL will be

    denied.

          Defendants alternatively seek a new trial and/or amended judgment. They

    maintain that SAFE’s damages should be reduced to $44,550, which is their estimation

    of the maximum damages that the jury could have awarded for six customers. 6 They

    assert that the additional sums that the jury awarded resulted in a verdict that was

    against the clear weight of the evidence.

          Pursuant to Civil Rule 59, a court may grant a new trial on all or some of the

    issues “for any reason for which a new trial has heretofore been granted in an action at

    law in federal court.” 7 “[A] district court may not grant a new trial simply because it

    would have arrived at a different verdict.” 8 But the Ninth Circuit has held that a new trial

    may be granted when “the verdict is against the clear weight of the evidence . . . or to

    prevent a miscarriage of justice.” 9 In contrast to a motion for JMOL, when considering

    a motion for a new trial, “the district court has ‘the duty . . . to weigh the evidence as

    [the court] saw it, and to set aside the verdict of the jury, even though supported by

    substantial evidence, where, in     [the court’s] conscientious opinion, the verdict is

    contrary to the clear weight of the evidence.’” 10


6
    Docket 707 at 11.
7
    FED. R. CIV. P. 59(a).
8Wallace v. City of San Diego, 479 F.3d 616, 630 (9th Cir. 2007) (alteration in original) (quoting
Silver Sage Partners, Ltd. v. City of Desert Hot Springs, 251 F.3d 814, 819 (9th Cir. 2001)).
9
    Molski v. MJ Cable, 481 F.3d 724, 729 (9th Cir. 2007).
10
  Id. at 729 (alterations in original) (quoting Murphy v. City of Long Beach, 914 F.2d 183, 187
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          Here, the Court is not persuaded that the jury’s verdict is against the clear weight

of the evidence. Although certainly there was evidence presented at trial that supported

Defendants’ position, and neither party introduced the crossover list into evidence, there

was also considerable evidence presented at trial that supported the jury’s verdict, as

summarized by SAFE in its opposition to Defendants’ motion. 11 A new trial or amended

judgment is not warranted.

          For the foregoing reasons, Defendants’ renewed motion at Docket 706 and motion

for oral argument at Docket 755 are both DENIED.

          DATED this 27th day of July, 2017 at Anchorage, Alaska.

                                                   /s/ Sharon L. Gleason
                                                   UNITED STATES DISTRICT JUDGE




(9th Cir. 1990)).
11
     Docket 747 at 5-11.

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